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                            IN THE UNITED STATES DISTRICT COURT
                             FOR THE WESTERN DISTRICT OF TEXAS
                                       AUSTIN DIVISION

CHARLES LINDBERG,                                §
                                                 §
               Plaintiff,                        §
                                                 §
V.                                               §            1-15-CV-563 RP
                                                 §
TRAVELERS LLOYDS OF TEXAS                        §
INSURANCE COMPANY,                               §
                                                 §
               Defendant.                        §

                                              ORDER

       Before the Court is the parties’ Stipulation of Dismissal, filed March 21, 2016 (Clerk’s Dkt.

#18). By way of the stipulation, the parties state they seek to dismiss all claims raised in this

action. See FED. R. CIV. P. 41(a)(1) (plaintiff may dismiss action by filing stipulation of dismissal

signed by all parties who have appeared).

       As the parties have all signed the stipulation, the Stipulation of Dismissal is GRANTED

       Accordingly, IT IS ORDERED that all claims and causes of action asserted by the parties

to this action are hereby DISMISSED WITH PREJUDICE.

       IT IS FURTHER ORDERED that all pending motions and settings are hereby TERMINATED

and the Clerk’s Office is directed to close this case.

       Each party is to bear its own attorney’s fees and costs.

       SIGNED on March 23, 2016.




                                             ROBERT L. PITMAN
                                             UNITED STATES DISTRICT JUDGE
